
934 A.2d 949 (2007)
401 Md. 700
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
Ana Luisa AVENDANO, Respondent.
Misc. Docket AG No. 29 September Term, 2007.
Court of Appeals of Maryland.
November 6, 2007.

ORDER
Upon consideration of the Joint Petition for Ninety-Day Suspension by Consent filed herein pursuant to Maryland Rule 16-772, it is this 6th day of November, 2007
ORDERED, by the Court of Appeals of Maryland, that Ana Luisa Avendano be, and she is hereby, suspended from the practice of law in this State for a period of ninety (90) days, effective immediately; and it is further,
ORDERED, that the Clerk of this Court shall strike the name of Ana Luisa Avendano from the register of attorneys in this Court, and pursuant to Maryland Rule 16-772(d) shall certify to the Trustees of the Client Protection Fund of the Bar of Maryland and the Clerks of all judicial tribunals in this State that the name of Ana Luis Avendano has been so stricken.
